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                 EXHIBIT 1
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                                          August 25, 2021

The Honorable David S. Ferriero
Archivist of the United States
U.S. National Archives and Records Administration
700 Pennsylvania Avenue, NW
Washington, DC 20408

Dear Mr. Ferriero:

The Select Committee to Investigate the January 6th Attack on the United States Capitol is
examining the facts, circumstances, and causes of the January 6th attack. Our Constitution
provides for a peaceful transfer of power, and this investigation seeks to evaluate threats to that
process, identify lessons learned, and recommend laws, policies, procedures, rules, or regulations
necessary to protect our Republic in the future. Pursuant to the Presidential Records Act (44
U.S.C. § 2205(2)(C)), and House Resolution 503, the Select Committee requests that you
produce the documents described in the attached schedule from the Executive Office of the
President (EOP) and the Office of the Vice President (OVP) in your custody, control, or
possession.

Given the urgent nature of our request, we ask that you expedite your consultation and
processing times pursuant to your authority under 36 C.F.R. § 1270.44(g). We have some
concern about the delay in producing documents requested this past March, and we want to assist
your prompt production of materials. We look forward to discussing ways in which we can do
that. Toward that end, we request that NARA meet expeditiously with Select Committee
investigative staff to discuss production priorities.
This is our first request for materials, and we anticipate additional requests as our investigation
continues. Please produce this information to the Select Committee no later than September 9,
2021. An attachment to this letter provides additional instructions for responding to the Select
Committee’s request.
If you have questions, please contact Select Committee investigative staff at 202-225-7800.

                                              Sincerely,


                                              __________________________
                                              Bennie G. Thompson
                                              Chairman
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DOCUMENT SCHEDULE

Pending Requests

The Select Committee reiterates the requests made in the March 25, 2021,1 correspondence from
multiple committees of the House of Representatives, which the Select Committee subsequently
joined, for documents and communications received, prepared, or sent between December 1,
2020, and January 20, 2021, relating to the counting of the electoral college vote on January 6,
2021, the potential for demonstrations, violence, or attacks in the National Capital Region on or
around January 6, 2021, and the events or aftermath of January 6, 2021.

Those March 25, 2021, requests include but are not limited to:

    1. All documents and communications relating in any way to remarks made by Donald
       Trump or any other persons on January 6, including Donald Trump’s and other speakers’
       public remarks at the rally on the morning of January 6, and Donald Trump’s Twitter
       messages throughout the day.

    2. All calendars, schedules, and movement logs regarding meetings or events attended by
       President Trump, including the identity of any individuals in attendance, whether virtual
       or in-person, on January 6, 2021.

    3. All documents and communications regarding the movements and protection of Vice
       President Pence on January 6, 2021.

    4. All video communications recorded of the President speaking on January 6, 2021, and all
       documents and communications related thereto, including communications involving the
       President or any other officials or employees in the Executive Office of the President or
       the Office of the Vice President. This request specifically includes videos of
       communications released to the public and communications recorded but not released to
       the public, any documents or other communications identifying or discussing the content
       of those videos.

    5. All photographs, videos, or other media, including any digital time stamps for such
       media, taken or recorded within the White House on January 6, 2021, or taken of the
       crowd assembled for the rally on the morning of January 6, and all communications or
       other documents related to that media.




        1
           Letter from Chairwoman Carolyn B. Maloney, House Committee on Oversight and Reform, et al., to
David Ferriero, Archivist, National Archives (March 25, 2021) (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2021-03-
25.House%20Committees%20to%20Agencies%20re%20Jan%206%20Attack.pdf).
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   6. All photographs, videos, or other media, including any digital time stamps for such
      media, taken or recorded of Vice President Mike Pence or any individuals accompanying
      him, on January 6, 2021.

   7. All documents and communications within the White House on January 6, 2021, relating
      in any way to the following:

          •   the January 6, 2021, rally;
          •   the January 6, 2021, march to the Capitol;
          •   the January 6, 2021, violence at the Capitol;
          •   any aspect of the Joint Session where Congress was counting electoral votes;
          •   any legal, political, or other strategy regarding the counting of electoral votes;
          •   Donald J. Trump;
          •   Vice President Pence;
          •   the President’s tweets, speech, any other public communications on that date;
          •   the President’s recording of video for release on that date and any outtakes;
          •   reactions, summaries, or characterizations of any public speeches or other
              communications by Donald Trump or other public speakers on that date;
          •   efforts to persuade the President to deliver any particular message to people at or
              near the Capitol;
          •   Sarah Matthews;
          •   Hope Hicks;
          •   Mark Meadows;
          •   Dan Scavino;
          •   Pat Cipollone;
          •   Marc Short;
          •   Patrick Philbin;
          •   Eric Herschmann;
          •   Stephan Miller;
          •   Greg Jacob;
          •   Matthew Pottinger;
          •   Keith Kellogg;
          •   Robert O’Brien;
          •   Peter Navarro;
          •   Ben Williamson;
          •   Cassidy Hutchinson;
          •   Molly Michael;
          •   Nicholas “Nick” Luna;
          •   Judd Deere;
          •   Kayleigh McEnany;
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           •   Ivanka Trump;
           •   Eric Trump;
           •   Lara Trump;
           •   Donald Trump, Jr.;
           •   Jared Kushner;
           •   Melania Trump;
           •   Kimberly Guilfoyle;
           •   Steve Bannon;
           •   Michael Flynn;
           •   Rudolph “Rudy” Giuliani;
           •   Roger Stone;
           •   any Member of Congress or congressional staff; or
           •   the Department of Defense, the Department of Justice, the Department of
               Homeland Security, the Department of the Interior, or any element of the National
               Guard.

   8. All White House visitor records on January 6, 2021.

   9. All documents and communications regarding the movement of the President on January
      6, 2021.

   10. All call logs and telephone records identifying calls placed to or from any individuals
       identified in (7) above.

   11. All schedules for any individuals identified in (7) above on January 6, 2021, and all
       documents relating to such meetings, including memoranda, read-aheads, and summaries
       of such meetings.

   12. All documents and communications received, prepared, or sent by any official within the
       White House Situation Room and the White House Operations Center on January 6,
       2021, including but not limited to any communication logs, situation reports, and watch
       officer notes.

Additional Requests

In addition, to the extent not included in the scope of the March 25, 2021, request, and as a
supplement to the requests previously made on March 25, 2021, we hereby make the following
additional requests.

   (a) Planning by the White House and Others for Legal or Other Strategies to Delay, Halt,
       or Otherwise Impede the Electoral Count
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          1. From April 1, 2020, through January 20, 2021, all documents and
             communications related to efforts, plans, or proposals to contest the 2020
             Presidential election results.

          2. From April 1, 2020, through January 20, 2021, all documents and
             communications related to plans, efforts, or discussions regarding the electoral
             count (including plans, efforts, or discussions regarding delaying or impeding the
             electoral count).

          3. All documents and communications concerning the role of the Vice President as
             the Presiding Officer in the certification of the votes of the electoral college.

          4. From November 3, 2020, through January 20, 2021, all documents and
             communications referring or relating to the 2020 election results between White
             House officials and officials of State Governments. This includes, but is not
             limited to, communications with the following individuals and their staff and
             subordinates:

                   • Doug Ducey,
                   • Brian Kemp,
                   • Brad Raffensperger,
                   • Ken Paxton,
                   • Frances Watson,
                   • Mike Shirkey,
                   • Lee Chatfield, or
                   • Monica Palmer.

          5. From April 1, 2020, through January 20, 2021, all documents and
             communications related to the 2020 election results, to or from one or more of the
             following individuals: Rudolph “Rudy” Giuliani, Justin Clark, Matt Morgan,
             Sidney Powell, Kurt Olsen, or Cleta Mitchell.

          6. From April 1, 2020, through January 20, 2021, all documents and
             communications related to the 2020 Presidential election, including forecasting,
             polling, or results, and which are authored, presented by, or related in any way to
             the following individuals: Anthony “Tony” Fabrizio, Brad Parscale, Bill Stepien,
             Corey Lewandowski, or Jason Miller.

          7. All documents and communications to or from David Bossie relating to
             questioning the validity of the 2020 election results.

          8. All documents and communications referring or relating to court decisions,
             deliberations, or processes involving challenges to the 2020 Presidential election.
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          9. From November 3, 2020, through January 20, 2021, all documents and
             communications relating to the State of Texas and litigation concerning the 2020
             Presidential election.

          10. From November 3, 2020, through December 31, 2020, all documents and
              communications relating to an amicus brief concerning litigation involving the
              State of Texas.

          11. All documents and communications relating to decisions of the United States
              Supreme Court issued on December 8, 2020, and December 11, 2020.

          12. From November 3, 2020, through January 20, 2021, all documents and
              communications relating to Justin Riemer and the electoral count or litigation
              concerning the 2020 Presidential election.

          13. All documents and communications referring or relating to QAnon, the Proud
              Boys, Stop the Steal, Oath Keepers, or Three Percenters concerning the 2020
              election results, or the counting of the electoral college vote on January 6, 2021.

          14. Any documents and communications relating to election machinery or software
              used in the 2020 election, including but not limited to communications relating to
              Dominion Voting Systems Corporation.

          15. From November 3, 2020, through January 19, 2021, all documents and
              communications concerning the resignation of any White House personnel or any
              politically appointed personnel of any Federal department or agency (including
              the resignation of any member of the President’s Cabinet) and mentioning the
              2020 Presidential election or the events of January 6, 2021.

          16. All documents and communications concerning prepared remarks for a speech by
              Donald Trump on November 3, 2020, or November 4, 2020.

          17. All documents and communications to or from John Eastman from November 3,
              2020, through January 20, 2021.

          18. All documents and communications relating to allegations of election fraud or to
              challenging, overturning, or questioning the validity of the 2020 Presidential
              election, and involving personnel of the Department of Justice, including any one
              or more of the following individuals: Jeffrey Rosen, Richard Donoghue, Steven
              Engel, Jeffrey Wall, Patrick Hovakimian, Byung J. “BJay” Pak, Bobby Christine,
              or Jeffrey Clark.
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          19. All documents and communications relating to allegations of election fraud or to
              challenging, overturning, or questioning the validity of the 2020 Presidential
              election and Chris Christie.

          20. All documents and communications relating to the results of the 2020 Presidential
              election and Peter Navarro.

          21. All documents and communications relating to challenging, overturning, or
              questioning the validity of the 2020 Presidential election and William Barr.

   (b) Recruitment, Planning, Coordination, and Other Preparations for the Rallies Leading
       up to and Including January 6th and the Violence on January 6th

          1. All documents and communications relating to planned protests, marches, public
             assemblies, rallies, or speeches in Washington, DC, on November 14, 2020,
             December 12, 2020, January 5, 2021, and January 6, 2021.

          2. All documents and communications related to security of the Capitol or other
             Federal facilities on January 5, 2021, and January 6, 2021.

          3. All documents and communications concerning Donald Trump’s statement on
             September 29, 2020, for the Proud Boys to “stand back and stand by.”

          4. From December 1, 2020, through January 20, 2021, any documents and
             communications involving White House personnel and any Member of Congress,
             referring or relating to (a) civil unrest, violence, or attacks at the Capitol; (b)
             challenging, overturning, or questioning the validity of the 2020 election results;
             (c) the counting of the electoral college vote on January 6, 2021; or (d) appealing
             the decisions of courts related to the 2020 Presidential election.

          5. All documents and communications related to social media information
             monitored, gathered, reviewed, shared, or analyzed by White House personnel on
             January 6, 2021.

          6. All documents and communications related to any plan for the President to march
             or walk to the Capitol on January 6, 2021. This request includes any such
             documents or communications related to a decision not to march or walk to the
             Capitol on January 6, 2021.

          7. From April 1, 2020, through January 20, 2021, all documents and
             communications concerning the 2020 election and relating to the following
             individuals:

                 ▪   Cindy Chafian,
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                 ▪   Greg Locke,
                 ▪   Robert Patrick Lewis,
                 ▪   Chris Lippe,
                 ▪   Tracy Diaz,
                 ▪   Alex Phillips,
                 ▪   Bianca Gracia,
                 ▪   Ali Alexander,
                 ▪   Brandon Straka,
                 ▪   Rose Tennet,
                 ▪   Ed Martin,
                 ▪   Vernon Jones,
                 ▪   Cordie Williams,
                 ▪   Michael Flynn,
                 ▪   Alex Jones,
                 ▪   Owen Schroyer,
                 ▪   Karyn Turk,
                 ▪   Scott Presler,
                 ▪   Rogan O’Handley,
                 ▪   Christie Hutcherson,
                 ▪   Gina Loudon,
                 ▪   Jack Posobiec,
                 ▪   Bryson Grey,
                 ▪   Angela Stanton King,
                 ▪   Brian Gibson,
                 ▪   George Papadopoulos,
                 ▪   Julio Gonzalez,
                 ▪   Bernard Kerik,
                 ▪   Mark Burns,
                 ▪   Roger Stone,
                 ▪   George Flynn,
                 ▪   Tom Van Flein,
                 ▪   Doug Logan,
                 ▪   Katrina Pierson,
                 ▪   Amy Kremer,
                 ▪   Dustin Stockton,
                 ▪   Enrique Tarrio,
                 ▪   Kenneth Harrelson,
                 ▪   Caroline Wren, or
                 ▪   Michael Coudrey.

   (c) Information Donald Trump Received Following the Election Regarding the Election
       Outcome, and What He Told the American People About the Election
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          1. From November 3, 2020, to January 20, 2021, all documents and communications
             reporting, summarizing, or detailing the voting returns and election results of the
             2020 Presidential election.

          2. All documents and communications related to Donald Trump’s response to the
             election results of the 2020 Presidential election, including but not limited to any
             planned public remarks.

          3. All documents and communications regarding a November 9, 2020, memorandum
             from Attorney General William Barr concerning investigation of voter fraud
             allegations.

          4. All documents and communications relating to voting machines or software used
             in the 2020 election and their control or manipulation through thermostats.

          5. From April 1, 2020, through January 20, 2021, all documents and
             communications relating to challenging the validity of the 2020 election, to, from,
             or mentioning Mike Lindell.

          6. From April 1, 2020, through January 20, 2021, all documents and
             communications relating to challenging the validity of the 2020 election, to, from,
             or mentioning Doug Logan.

          7. From November 3, 2020, through January 20, 2021, all documents and
             communications related to prepared public remarks and actual public remarks of
             Donald Trump.

   (d) What the President Knew About the Election’s Likely Outcome Before the Election
       Results and How He Characterized the Validity of the Nation’s Election System

          1. From April 1, 2020, through November 3, 2021, all documents and
             communications provided to Donald Trump or Mark Meadows containing
             information predicting that Donald Trump would or might lose the 2020
             Presidential election.

          2. From April 1, 2020, through January 20, 2021, all documents and
             communications provided to Donald Trump or Mark Meadows relating to mail-in
             ballots and their effect or predicted effect on results of the election or the timing
             of election-related news or decisions.

          3. From November 3, 2020, through November 5, 2020, all documents and
             communications provided to Donald Trump or Mark Meadows relating to
             projected election results of the 2020 Presidential election.
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          4. From April 1, 2020, through January 20, 2021, all documents provided to Donald
             Trump or Mark Meadows reviewing, assessing, or reporting on the security of
             election systems in the United States.

          5. From April 1, 2020, through January 20, 2021, all documents and
             communications provided to Donald Trump or Mark Meadows regarding
             purported election irregularities, election-related fraud, or other election-related
             malfeasance.

          6. From April 1, 2020, through January 20, 2021, all documents and
             communications provided to Donald Trump or Mark Meadows referring to a
             stolen election, stealing the election, or a “rigged” election.

   (e) Responsibilities in the Transfer of Power and the Obligation to Follow the Rule of Law

          1. All documents and communications relating to legal advice or legal analysis of, or
             compliance with, the constitutional process for certifying the electoral vote. This
             includes, but is not limited to, communications with and from the following
             individuals:

                   • Pat Cipollone,
                   • Patrick Philbin,
                   • Eric Herschmann,
                   • John Eastman, or
                   • Greg Jacobs.

          2. All documents and communications on January 6, 2021, related to Mark Milley,
             Christopher Miller, Kashyap “Kash” Patel, or Ryan McCarthy.

          3. From January 6, 2021, through January 20, 2021, all documents and
             communications related to the events of January 6, 2021, and Mark Milley,
             Christopher Miller, Kashyap “Kash” Patel, or Ryan McCarthy.

          4. From November 3, 2020, through January 20, 2021, all documents and
             communications concerning the potential or actual changes in personnel at the
             following departments and agencies:

                   • The Department of Defense, within the Office of the Secretary and the
                     Joint Chiefs of Staff. This should include, but is not limited to, such
                     documents and communications concerning the following individuals:

                                 o Mark Esper,
                                 o Mark Milley,
                                 o Christopher Miller,
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                               o   Kashyap “Kash” Patel,
                               o   James Anderson,
                               o   Anthony Tata,
                               o   Ezra Cohen-Watnick,
                               o   Joseph Kernan, or
                               o   John McEntee

                  • The Department of Justice. This should include, but is not limited to, such
                    documents and communications concerning the following individuals:

                               o   Jeffrey Rosen,
                               o   Richard Donoghue,
                               o   Jeffrey Clark, or
                               o   John McEntee

                  • The Federal Bureau of Investigation. This should include, but is not
                    limited to, such documents and communications concerning the following
                    individuals:

                               o Kashyap “Kash” Patel,
                               o Christopher Wray, or
                               o John McEntee.

                  • The Central Intelligence Agency. This should include, but is not limited
                    to, such documents and communications concerning the following
                    individuals:

                               o   Kashyap “Kash” Patel,
                               o   Gina Haspel,
                               o   Vaughn Bishop, or
                               o   John McEntee.

                  • The Department of Homeland Security (including the United States Secret
                    Service). This should include, but is not limited to, such documents and
                    communications concerning the following individuals:

                               o Chad Wolf, or
                               o John McEntee.

          5. From November 3, 2020, through January 20, 2021, all documents and
             communications relating to Jeffrey Clark.

          6. From November 3, 2020, through January 20, 2021, all documents and
             communications related to the Twenty-Fifth Amendment to the U.S. Constitution.
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          7. From January 6, 2021, through January 20, 2021, all documents and
             communications related to the mental stability of Donald Trump or his fitness for
             office.

          8. Any documents and communications relating to instructions to stop or delay
             preparation for the transition of administrations.

          9. All communications between White House personnel and General Services
             Administration (GSA) Administrator Emily Murphy or other GSA officials
             relating to “ascertainment” under the Presidential Transition Act. This includes
             but is not limited to communications discussing the recognition of Joseph Biden
             as the winner of the 2020 Presidential election.

          10. All documents and communications concerning the potential invocation of the
              Insurrection Act.

          11. From November 3, 2020, through January 20, 2021, all documents and
              communications related to martial law.

          12. All documents and communications concerning the use of Federal law
              enforcement or military personnel during voting in the 2020 Presidential election.

          13. From November 3, 2020, through January 20, 2021, all documents and
              communications related to Kashyap “Kash” Patel.

          14. From November 3, 2020, through January 20, 2021, all documents and
              communications related to John McEntee.

   (f) Other Materials Relevant to the Challenges to a Peaceful Transfer of Power

          1. Any documents and communications relating to foreign influence in the United
             States 2020 Presidential election through social media narratives and
             disinformation.

          2. All documents and communications related to the January 3, 2021, letter from 10
             former Defense Secretaries warning of use of the military in election disputes.
